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                                                                       l!astern Dl~rlot of Kentucky
                         UNITED STATES DISTRICT COURT                        FIL I! D
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION                             OCT 2 9 2020
                                  FRANKFORT                                    AT LEXINGTON
                                                                             ROBERT R. CARR
                                                                         CLERK U.S. DISTRICT COURT
UNITED STATES OF AMERICA


V.                                            INFORMATION No.'?>- JO         -C!2-t5-C:Fvr

JEREMY DELK and
TAILOR MADE COMPOUNDING LLC

                                       * * * * *

THE UNITED STATES ATTORNEY CHARGES:

At all relevant times:

                                       Background

        I.    JEREMY DELK was a resident of the Eastern District of Kentucky.

       2.     TAILOR MADE COMPOUNDING LLC ("TMC") was a Kentucky

company formed by DELK with its principal place of business in the Eastern District of

Kentucky. Located in Nicholasville, Kentucky, TMC was at all times subject to the

licensure requirements for pharmacies under Kentucky Revised Statutes, Chapter 315.

TMC received its Kentucky pharmacy license in November 2015. Under Federal law,

TMC was a 503A compounding pharmacy, as is explained below.

       3.     The Kentucky Board of Pharmacy, located in Frankfort, Franklin County,

in the Eastern District of Kentucky, was statutorily obligated to oversee the

implementation ofK.R.S. Chapter 315 and to regulate pharmacists, pharmacies,

wholesale drug distributors, and others operating in the industries covered by Chapter
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315.

       4.     The Food and Drug Administration ("FDA") of the United States

Department of Health and Human Services regulated the manufacture, distribution, and

marketing of all drugs shipped or received in interstate commerce through enforcement of

the Federal Food, Drug, and Cosmetic Act. 21 U.S.C. § 301, et seq. ("FDCA"). The

requirements of the FDCA, in part, were meant to ensure that drugs sold for human use

are safe and effective and bear labeling that contains accurate and adequate information.

       5.     The FDCA defined a "drug" in relevant part, as (1) any article intended for

use in the diagnosis, cure, mitigation, treatment or prevention of disease in man or other

animal; (2) any article (other than food) intended to affect the structure or any function of

the body; or (3) any article used as a component of either. 21 U.S.C. § 32l(g).

       6.     Under the FDCA, a "new drug" was defined as any drug the composition of

which is not generally recognized, among experts qualified by scientific training and

experience to evaluate the safety and effectiveness of drugs, as safe and effective for use

under the conditions prescribed, recommended, or suggested in its labeling. 21 U.S.C.

§ 32l(p). It was a prohibited act for any person to introduce or deliver for introduction or

to cause the introduction into interstate commerce any new drug unless it has been the

subject of a new drug application approved by FDA. 21 U.S.C. § 33 l(d), 355(a).

       7.     Compounding pharmacies that met the conditions of section 503A of the

FDCA ("section 503A") qualified for exemption from certain provisions of the FDCA.

Those conditions included compliance with current good manufacturing practices

(COMP) (section 501(a)(2)(B)); labeling with adequate directions for use (section
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502(f)(l)); FDA approval prior to marketing (section 505); and receipt of valid

prescriptions for individually-identified patients. See 21 U.S.C. §§ 35 l(a)(2)(B),

352(f)(l) and 355(a).

         8.    For a compounded drug product to qualify for exemptions under section

503A, the bulk drug substances used must: (i) comply with the standards of an applicable

United States Pharmacopeia (USP) or National Formulary (NF) monograph, if a

monograph exists, and the USP chapter on pharmacy compounding; (ii) if such a

monograph does not exist, be components of FDA approved drugs; or (iii) if such a

monograph does not exist and the drug substance is not a component of an FDA

approved drug, it must appear on a list developed by the FDA through regulation ("503A

bulks list") (section 503A(b)(l)(A)(i) of the FDCA). Drugs that did not meet these

criteria were unapproved new drugs.

         9.    The FDCA also prohibited any business or person from engaging in the

wholesale distribution of prescription drugs unless the business or person had a license

from the designated state authority from the state from which the distribution was made

and, if the distribution was interstate, also from the designated state authority into which

the wholesale distribution was to be delivered. As part of its duties under K.R.S.

315.402, the Kentucky Board of Pharmacy was the designated authority that inspected

and licensed wholesale distributors of prescription drugs shipped to and from Kentucky.

         10.   At no time did TMC apply for or receive a permit, license, or authority

from the Kentucky Board of Pharmacy to act as a wholesale distributor of prescription

drugs.
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         11.     Selective androgen receptor modulators ("SARMS") were synthetic

 chemicals designed to mimic the effects of testosterone and other anabolic steroids.

 Products containing SARMS were often marketed and sold for body-building purposes,

 to increase muscle mass. FDA issued a public safety alert in 2017 warning consumers

 about ingesting products containing SARMS because these products had been linked to

 life-threatening reactions, including liver toxicity, and that these products have the

 potential to increase the risk of heart attack and stroke. SARMS were an unapproved

 new drug and did not meet the exemptions under section 503A.

         12.    Methylcobalamin is a form of vitamin B-12, which the FDA generally

 recognizes as safe for human consumption, provided it is manufactured and distributed in

 accordance with relevant state and federal regulations.


                                        COUNTl
                                21 U.S.C. §§ 331(t) & 353(e)

       13.      Paragraphs 1 through 12 are re-alleged and incorporated by reference as if

fully set forth herein.

       14.      Between on or about October 23, 2018, and May 14, 2020, in the Eastern

District of Kentucky, and elsewhere,

                                       JEREMY DELK

 knowingly engaged in wholesale distribution of a prescription drug, namely

 Methylcobalamin I 0mg/ml 10mL, distributing the drug in interstate commerce in

 violation of Title 21 of United States Code section 353(e), by at no time licensing TMC

 as a wholesale distributor with the Board of Pharmacy for the Commonwealth of
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Kentucky.

       All in violation of Title 21, United States Code, Sections 331(t), 353(e), and

333(b)(1 )(D).

                                          COUNT2
                                  21 U.S.C. §§ 331(d) & 355

        15.      Paragraphs 1 through 11 are re-alleged and incorporated by reference as if

fully set forth herein.

        16.      From in or about October 25, 2018, through on or about April 1, 2020,

                          TAILOR MADE COMPOUNDING LLC

introduced, delivered for introduction, and caused the introduction and delivery for

introduction into interstate commerce of quantities of new drugs, including SARMS and

other substances, that the FDA had not approved for distribution in the United States,

from the Eastern District of Kentucky throughout the United States and elsewhere.

       All in violation of Title 21, United States Code, Sections 331(d), 355, and

33 l(a)(l).

                               FORFEITURE ALLEGATION
                                     21 u.s.c. § 334
                                    28 u.s.c. § 2461

       17.       Upon conviction of the offense in violation of Title 21, United States Code,

Section 33 l(d) set forth in this Information, the defendant, TAILOR MADE

COMPOUNDING LLC, shall forfeit to the United States of America the unapproved

new drugs that were shipped from the Eastern District of Kentucky to locations

throughout the United States, pursuant to Title 21, United States Code, Section 334 and
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Title 28, United States Code, Section 2461.

       18.    Because the above-described forfeitable property has been transferred and

sold to third parties, and cannot be located upon the exercise of due diligence, the United

States intends to seek a forfeiture money judgment in the amount of$1,788,906.82,

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 28,

United States Code, Section 2461(c).




                                          ROBERT M. DUNCAN, JR.
                                          UNITED STATES ATTORNEY
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                             INDIVIDUAL PENALTIES

COUNT 1: Not more than 10 years imprisonment, $250,000 fine, and 3 years
         supervised release.

PLUS:       Mandatory special assessment of$100 per count.

PLUS:       Restitution, if applicable.

                           ORGANIZATION PENALTIES

COUNT 2: Not more than 5 years probation, $1,000 fine, and 1 year supervised
         release.

PLUS:       Mandatory special assessment of$125 per count.

PLUS:       Restitution, if applicable.

PLUS:       Forfeiture as listed.
